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 9 Thomas W. McNamara

10                              UNITED STATES DISTRICT COURT

11                                     DISTRICT OF NEVADA

12 FEDERAL TRADE COMMISSION,                        Case No. 2:20-cv-00840-JAD-NJK

13                       Plaintiff,                 NOTICE OF PRELIMINARY
                                                    REPORT OF RECEIVER
14         v.

15 LEAD EXPRESS, INC., et al.,

16                       Defendants.

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     Case 2:20-cv-00840-JAD-NJK Document 65 Filed 07/20/20 Page 2 of 3




 1          TO THE HONORABLE JENNIFER A. DORSEY, UNITED STATES DISTRICT

 2 COURT JUDGE, AND TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          Thomas W. McNamara, the Court-appointed Receiver (“Receiver”) in this case, hereby

 4 submits his Preliminary Report setting forth the Receiver’s activities, observations, and findings

 5 since the entry of the Order Granting Stipulation to Enter Preliminary Injunction Against the

 6 Corporate Defendants on June 19, 2020 (ECF No. 44). The Preliminary Report is attached

 7 hereto as Exhibit A.

 8 Dated: July 20, 2020                          MCNAMARA SMITH LLP

 9
                                                 By:       /s/ Edward Chang
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     Case 2:20-cv-00840-JAD-NJK Document 65 Filed 07/20/20 Page 3 of 3




 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on the 20th day of July, 2020, pursuant to Fed. R. Civ. P. 5(b), I
   served via CM/ECF or delivered by email and mailing in the U.S. Mail, a true and correct copy
 3 of the foregoing NOTICE OF PRELIMINARY REPORT OF RECEIVER, postage prepaid
   and addressed to the following:
 4
   VIA CM/ECF                                          VIA CM/ECF
 5 Gregory A. Ashe / Helen Clark                       Lindsay Ager, Assistant U.S. Attorney
   Federal Trade Commission                            501 Las Vegas Boulevard South, Suite 1100
 6 600 Pennsylvania Avenue NW                          Las Vegas, Nevada 89101
   Washington, DC 20580                                Tel.: 702-388-6336
 7 Tel.: 202-326-3719 (Ashe)                           Fax: 702-388-6787
   Tel.: 202-326-2273 (Clark)                          lindsay.ager@usdoj.gov
 8 Fax: 202-326-3768                                   Attorneys for the Federal Trade Commission
   gashe@ftc.gov; hclark@ftc.gov
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     /s/ Edward Chang
28 Edward Chang
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